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                      United States Court of Appeals
                                 FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                          ____________


No. 22-1029                                                     September Term, 2022
                                                                               PRC-RM2020-9
                                                       Filed On: July 7, 2023 [2006778]
United Parcel Service, Inc.,

                   Petitioner

         v.

Postal Regulatory Commission,

                   Respondent

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Amazon.com Services, LLC, et al.,
           Intervenors

                                             ORDER

       Upon consideration of respondent’s second motion for a 30-day extension of
time to file its brief, it is

       ORDERED that the motion be granted. The following revised briefing schedule
will now apply in this case:

          Respondent's Brief                                            August 14, 2023
          Intervenor for Respondent's Brief                             August 21, 2023
          Petitioner's Reply Brief                                  September 11, 2023
          Deferred Appendix                                         September 18, 2023
          Final Briefs                                                  October 2, 2023

                                                              FOR THE COURT:
                                                              Mark J. Langer, Clerk

                                                      BY:     /s/
                                                              Michael C. McGrail
                                                              Deputy Clerk
